                                          EXHIBIT A

                                   Liquidating Trust Agreement




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                                                                                      DLA Piper Draft
                                                                                        May __, 2017
                             LIQUIDATING TRUST AGREEMENT

      This Liquidating Trust Agreement (the “Liquidating Trust Agreement”) is made this __
day of _____, 2017, by and among Abengoa Bioenergy Biomass of Kansas, LLC (the
“Debtor”), the Official Committee of Unsecured Creditors (the “Creditors’ Committee”), and
Mark D. Kozel, Managing Director of BDO USA, LLP, as trustee (the “Liquidating Trustee”).

                                             RECITALS

         WHEREAS, on March 23, 2016, three creditors asserting then-disputed state law lien
claims against the Debtor filed an involuntary petition in the Bankruptcy Court under chapter 7
of title 11 of the United States Code (the “Bankruptcy Code”) in the United States Bankruptcy
Court for the District of Kansas (the “Bankruptcy Court”); and

       WHEREAS, on April 8, 2016, the Bankruptcy Court entered an order converting the
involuntary case to a case under chapter 11 of the Bankruptcy Code (the “Chapter 11 Case”);
and

       WHEREAS, the Debtor filed the Disclosure Statement Dated as of April 14, 2017 for
Debtor’s Plan of Liquidation Pursuant to Chapter 11 of the Bankruptcy Code (the “Disclosure
Statement”), and the Debtor’s Plan of Liquidation Pursuant to Chapter 11 of the Bankruptcy
Code, dated as of April 14, 2017 (as the same may be further modified, amended, and/or
supplemented from time to time, the “Plan”);1 and

        WHEREAS, on ____________, 2017, the Bankruptcy Court entered an order confirming
the Plan (the “Plan Confirmation Order”); and

        WHEREAS, the Plan’s Effective Date occurred on __________, 2017; and

        WHEREAS, the Plan contemplates, on the Effective Date, (i) the creation of a
Liquidating Trust (the “Liquidating Trust”) and the creation of the beneficial interests in the
Liquidating Trust of holders of Allowed General Unsecured Claims entitled to Distributions as
described in the Plan (collectively, the “Beneficiaries” and each, individually, a “Beneficiary”),
and (ii) the Liquidating Trust will be vested with (i) all Causes of Action of the Debtor,
including, without limitation, any and all Causes of Action for which the Creditors’ Committee
was granted standing and authority to prosecute, resolve, settle and compromise in the Chapter
11 Case, but excluding those expressly waived in the Plan, and (ii) all other unencumbered assets
of the estate of the Debtor created pursuant to section 541 of the Bankruptcy Code upon the
conversion of the Chapter 11 Case Debtor’s Estate remaining after all required payments have
been made pursuant to the Plan, the Confirmation Order and this Liquidating Trust Agreement,
as applicable (all such Assets vesting in the Liquidating Trust are collectively referred to as the
“Liquidating Trust Assets”), to be liquidated and distributed to the Beneficiaries, as set forth in
the Plan; and



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    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in
    the Plan.


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        WHEREAS, the Plan contemplates that, pursuant to Treasury Regulation
Section 301.7701-4, the Liquidating Trust shall be created for the primary purpose of liquidating
the Liquidating Trust Assets and for making Distributions in accordance with the Plan and this
Liquidating Trust Agreement, with no objective to continue or engage in the conduct of a trade
or business, except only in the event and to the extent necessary to, and consistent with, the
liquidating purpose of the Liquidating Trust; and

        WHEREAS, the Liquidating Trust is intended to qualify as a grantor trust for U.S.
federal income tax purposes under the Internal Revenue Code of 1986, as amended (the “IRC”),
with the Beneficiaries to be treated as if they had received a distribution from the Estate of an
undivided interest in each of the Liquidating Trust Assets (to the extent of the value of their
respective share in the applicable assets) and then contributed such interests to the Liquidating
Trust, and the Beneficiaries will be treated as the grantors and owners thereof; and

        WHEREAS, the Liquidating Trustee has agreed to serve as such upon the terms and
subject to the conditions set forth in this Liquidating Trust Agreement.

        NOW, THEREFORE, in accordance with the Plan, in consideration of the premises, the
mutual agreements of the parties contained herein, and other good and valuable consideration,
the receipt and sufficiency of which are hereby acknowledged and affirmed, the parties hereby
agree as follows:

                                              ARTICLE I
                                         DECLARATION OF TRUST

              1.1     Creation and Purpose of the Liquidating Trust. The Debtor and the
      Liquidating Trustee hereby create the Liquidating Trust for the primary purpose of
      liquidating the Liquidating Trust Assets and making Distributions in accordance with the
      Plan and this Liquidating Trust Agreement, with no objective to continue or engage in the
      conduct of a trade or business, except only in the event and to the extent necessary to, and
      consistent with, the liquidating purpose of the Liquidating Trust. The Liquidating Trust
      will not be deemed a successor-in-interest of the Estate for any purpose other than as
      specifically set forth in the Plan and this Liquidating Trust Agreement.

              1.2     Declaration of Trust. In order to declare the terms and conditions hereof,
      and in consideration of the confirmation of the Plan, the Debtor and the Liquidating Trustee
      have executed this Liquidating Trust Agreement and, effective on the Effective Date,
      hereby irrevocably transfer to the Liquidating Trust all of the right, title, and interests of the
      Debtor in and to the Liquidating Trust Assets, to have and to hold unto the Liquidating
      Trust and its successors and assigns forever, under and subject to the terms of the Plan and
      the Plan Confirmation Order, for the benefit of the Beneficiaries (to the extent of their
      respective legal entitlements) and their successors and assigns as provided for in this
      Liquidating Trust Agreement and in the Plan and Plan Confirmation Order.

             1.3    Vesting of Estate Assets. On the Effective Date, pursuant to the terms of the
      Plan and sections 1123, 1141 and 1146(a) of the Bankruptcy Code, all Liquidating Trust

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      Assets shall be vested in the Liquidating Trust, which also shall be authorized to obtain,
      liquidate, and collect all of the Liquidating Trust Assets not in its possession and pursue all
      of the Causes of Action that constitute Liquidating Trust Assets under the Plan; provided,
      however, that the Liquidating Trustee may abandon or otherwise not accept any
      Liquidating Trust Assets that the Liquidating Trustee believes, in good faith, to have no
      value to the Liquidating Trust. Any Liquidating Trust Assets that the Liquidating Trustee
      so abandons or otherwise does not accept shall not be property of the Liquidating Trust. In
      addition, on the Effective Date, the Liquidating Trust shall (a) take possession of all books,
      records, and files of the Debtor and the Estate, and (b) provide for the retention and storage
      of such books, records, and files until such time as the Liquidating Trust determines, in
      accordance with this Liquidating Trust Agreement, that retention of same is no longer
      necessary or beneficial. Subject to the provisions of the Plan, all Liquidating Trust Assets
      shall be delivered to the Liquidating Trust free and clear of all Liens, Claims, and Equity
      Interests except as otherwise specifically provided in the Plan or in the Plan Confirmation
      Order.

              1.4     Acceptance by Liquidating Trustee. The Liquidating Trustee hereby accepts
      the trust imposed under this Liquidating Trust Agreement and agrees to observe and
      perform that trust on and subject to the terms and conditions set forth in this Liquidating
      Trust Agreement, the Plan, and the Plan Confirmation Order. In connection with and in
      furtherance of the purposes of the Liquidating Trust, the Liquidating Trustee hereby
      accepts the transfer of the Liquidating Trust Assets.

              1.5   Name of the Liquidating Trust. The Liquidating Trust established hereby
      shall be known as the “ABBK Liquidating Trust.”

                                            ARTICLE II
                                     THE LIQUIDATING TRUSTEE

              2.1     Appointment. In accordance with the Plan, the Creditors’ Committee has
      selected Mark D. Kozel, Managing Director of BDO USA, LLP as the Liquidating Trustee
      for the Liquidating Trust. The Liquidating Trustee’s appointment shall be effective as of
      the Effective Date and continue until the earlier of (a) the termination of the Liquidating
      Trust or (b) the Liquidating Trustee’s resignation, death, or removal.

              2.2    General Powers. The Liquidating Trustee shall be the exclusive trustee of
      the Liquidating Trust and the Liquidating Trust Assets for purposes of 31 U.S.C. § 3713(b)
      and 26 U.S.C. § 6012(b)(3). The Liquidating Trustee shall have all duties, obligations,
      rights, and benefits assumed by, assigned to, or vested in the Liquidating Trust under the
      Plan, the Plan Confirmation Order, this Liquidating Trust Agreement, and any other
      agreement entered into pursuant to or in connection with the Plan. Except as otherwise
      provided in this Liquidating Trust Agreement, the Plan, or the Plan Confirmation Order,
      the Liquidating Trustee may control and exercise authority over the Liquidating Trust
      Assets, over the acquisition, management, and disposition thereof, and over the
      management and conduct of the business of the Liquidating Trust. No person dealing with
      the Liquidating Trust shall be obligated to inquire into the Liquidating Trustee’s authority

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      in connection with the acquisition, management, or disposition of Liquidating Trust Assets.
      Without limiting the foregoing, but subject to the Plan, the Plan Confirmation Order, and
      other provisions of this Liquidating Trust Agreement, the Liquidating Trustee shall be
      expressly authorized to, with respect to the Liquidating Trust and the Liquidating Trust
      Assets:

                (a)    Exercise all power and authority that may be or could have been
exercised, commence all proceedings that may be or could have been commenced, and take all
actions that may be or could have been taken with respect to the Liquidating Trust Assets by any
officer, partner, agent, representative, or other party acting in the name of the Debtor or the
Estate with like effect as if duly authorized, exercised, and taken by action of such officer,
partner, agent, representative, or other party under sections 704 and 1106 of the Bankruptcy
Code as the Debtor’s representative appointed for such purpose pursuant to section 1123(b)(3) of
the Bankruptcy Code;

              (b)    Open and maintain bank accounts on behalf of or in the name of the
Liquidating Trust, take and exercise ownership and control over any existing debtor in
possession bank accounts, calculate and make Distributions and take other actions consistent
with the Plan and the implementation thereof, including the establishment, re-evaluation,
adjustment, and maintenance of appropriate reserves, in the name of the Liquidating Trust;

               (c)      Receive, manage, invest, supervise, and protect the Liquidating Trust
Assets, subject to the limitations provided herein;

                  (d)      Hold legal title to any and all Liquidating Trust Assets;

              (e)     Subject to the applicable provisions of the Plan, collect and liquidate all
Liquidating Trust Assets pursuant to the Plan;

               (f)     Review and, where appropriate, object to Claims and supervise and
administer the resolution, settlement, and payment of all Claims and Interests and Distributions
to the Beneficiaries in accordance with this Liquidating Trust Agreement, the Plan, and the Plan
Confirmation Order;

               (g)     Subject to Section 3.2 of this Liquidating Trust Agreement and Section
IV.F of the Plan, investigate, prosecute, compromise, and settle all Causes of Action vested in
the Liquidating Trust;

              (h)     (i) Seek a determination of tax liability under section 505 of the
Bankruptcy Code, (ii) file any and all tax and information returns required with respect to the
Debtor and the Liquidating Trust, (iii) make tax elections for and on behalf of the Debtor and the
Liquidating Trust, and (iv) pay taxes or other obligations incurred by the Liquidating Trust;

               (i)    Calculate and implement Distributions to applicable Beneficiaries as
provided for, or contemplated by, the Plan, the Plan Confirmation Order, and this Liquidating
Trust Agreement;

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                (j)    Withhold from the amount distributable to any person such amount as may
be sufficient to pay any tax or other charge which the Liquidating Trustee has determined, in its
sole discretion, may be required to be withheld therefrom under the income tax laws of the
United States, any foreign country, or of any state, local, or political subdivision of either;

               (k)     Enter into any agreement or execute any document required by or
consistent with the Plan, the Plan Confirmation Order, or this Liquidating Trust Agreement and
perform all obligations thereunder;

             (l)     Purchase and carry any insurance policies and pay any insurance
premiums and costs that the Liquidating Trustee deems reasonably necessary or advisable;

               (m)     Retain and compensate, without further order of the Bankruptcy Court, the
services of employees, professionals, and consultants to advise and assist in the administration,
prosecution, and distribution of the Liquidating Trust Assets;

               (n)     Implement, enforce, or discharge all of the terms, conditions, and all other
provisions of, and all duties and obligations under, the Plan, the Plan Confirmation Order, and
this Liquidating Trust Agreement;

               (o)    Resolve issues involving Claims and Interests in accordance with the Plan,
including the power to file, prosecute, settle or otherwise resolve objections to Claims, and to
subordinate and recharacterize Claims by objection, motion, or adversary proceeding;

              (p)     Undertake all administrative functions of the Chapter 11 Case, including
the payment of fees payable to the Office of the United States Trustee and the ultimate closing of
the Chapter 11 Case;

              (q)     Appear and participate in any proceeding before the Bankruptcy Court or
any other court with proper jurisdiction with respect to any matter regarding or relating to this
Liquidating Trust Agreement, the Plan, the Plan Confirmation Order, Liquidating Trust, or the
Liquidating Trust Assets; and

              (r)     Take all other actions consistent with the provisions of the Plan that the
Liquidating Trustee deems reasonably necessary or desirable to administer the Plan.

             2.3    Limitations on the Liquidating Trustee. Notwithstanding anything under
      applicable law, this Liquidating Trust Agreement, or the Plan to the contrary, the
      Liquidating Trustee shall not do or undertake any of the following:

                (a)     Take any action that would jeopardize treatment of the Liquidating Trust
as a “liquidating trust” for federal income tax purposes.

               (b)      Exercise any investment power other than the power to invest in demand
and time deposits in banks or savings institutions, or other temporary liquid investments, such as
short term certificates of deposit or Treasury bills or other investments that a “liquidating trust”
within the meaning of Treasury Regulation Section 301.7701-4(d) may be permitted to hold,
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pursuant to the Treasury Regulations or any Internal Revenue Service (“IRS”) guidelines,
whether set forth in IRS rulings, revenue procedures, other IRS pronouncements, or otherwise.

               (c)      Receive or retain any operating assets of a going concern business, a
partnership interest in a partnership that holds operating assets, or fifty percent (50%) or more of
the stock of a corporation with operating assets, except as is absolutely necessary or required
under the Plan and the Plan Confirmation Order; provided, however, that in no event shall the
Liquidating Trustee receive or retain any such asset or interest that would jeopardize treatment of
the Liquidating Trust as a “liquidating trust” for federal income tax purposes.

              2.4     Compensation of the Liquidating Trustee. The Liquidating Trustee shall be
      paid fair and reasonable compensation, in an amount equal to his normal hourly rate,
      currently $400 per hour, as may be adjusted from time to time in the normal course. The
      Liquidating Trustee shall not be required to file a fee application or seek any approval from
      the Bankruptcy Court to receive compensation or be reimbursed for expenses under the
      terms of this Liquidating Trust Agreement.

              2.5    Reimbursements. The Liquidating Trustee, any agents or consultants
      employed pursuant to this Liquidating Trust Agreement, and any professionals or
      representatives retained by the Liquidating Trust shall be reimbursed from the Liquidating
      Trust Assets for all reasonable out-of-pocket expenses incurred in the performance of their
      duties hereunder in addition to any compensation received.

             2.6     Liquidating Trust Operating Expenses. The Liquidating Trust Assets will be
      used to pay all liabilities, costs and expenses of the Liquidating Trust, including
      compensation then due and payable to the Liquidating Trustee, [his/her]agents,
      representatives, professionals and employees and all costs, expenses, and liabilities
      incurred by the Liquidating Trustee in connection with the performance of [his/her] duties.
      The reasonable fees and expenses of the Liquidating Trustee and [his/her]counsel and
      agents will be paid out of the Liquidating Trust Assets, without need of Bankruptcy Court
      approval.

              2.7     Investments. The Liquidating Trust may invest Cash (including any
      earnings thereon or proceeds therefrom) as permitted by section 345 of the Bankruptcy
      Code or in other prudent investments, provided, however, that such investments are
      permitted to be made by a liquidating trust within the meaning of Treasury Regulation
      section 301.7701-4(d), as reflected therein, or under applicable IRS guidelines, rulings, or
      other controlling authorities.

              2.8    Replacement of the Liquidating Trustee. The Liquidating Trustee shall be
      subject to removal only by the Bankruptcy Court upon application or motion by a
      Beneficiary of the Liquidating Trust, after notice and a hearing, and for cause shown,
      including (a) the willful and continued refusal by the Liquidating Trustee to perform its
      duties under the Plan and this Liquidating Trust Agreement, and (b) gross negligence,
      willful misconduct, fraud, embezzlement, or theft. The Liquidating Trustee may resign at
      any time upon thirty (30) days’ written notice delivered to the Bankruptcy Court, provided

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      that such resignation shall become effective only upon the appointment of a permanent or
      interim successor Liquidating Trustee. In the event of the resignation or removal, death or
      incapacity of the Liquidating Trustee, the Creditors’ Committee shall designate another
      Person or Entity to serve as Liquidating Trustee. Upon its appointment, the successor
      Liquidating Trustee, without any further act, shall become fully vested with all of the
      rights, powers, duties, and obligations of its predecessor and all responsibilities of the
      predecessor Liquidating Trustee relating to the Liquidating Trust shall be terminated;
      provided, however, that the original Liquidating Trustee’s right to indemnification shall
      survive termination and are subject to the provisions of Article IV hereof.

              2.9    Liquidating Trust Continuance. The death, incapacity, resignation, or
      removal of the Liquidating Trustee shall not terminate the Liquidating Trust or revoke any
      existing agency created by the Liquidating Trustee pursuant to this Liquidating Trust
      Agreement or invalidate any action theretofore taken by the Liquidating Trustee, and the
      successor Liquidating Trustee agrees that the provisions of this Liquidating Trust
      Agreement shall be binding upon and inure to the benefit of the successor Liquidating
      Trustee and all its successors or assigns.

                              ARTICLE III
         PROSECUTION AND RESOLUTION OF ESTATE CAUSES OF ACTION

              3.1     The Liquidating Trust’s Exclusive Authority To Pursue, Settle, or Abandon
      Estate Causes of Action. In accordance with Section IV.H of the Plan, from and after the
      Effective Date, prosecution and settlement of all Causes of Action transferred to the
      Liquidating Trust shall be the sole responsibility of the Liquidating Trust pursuant to this
      Plan and the Confirmation Order. From and after the Effective Date, the Liquidating Trust
      shall have exclusive rights, powers, and interests of the Debtor’s Estate to pursue, settle or
      abandon such Causes of Action as the sole representative of the Debtor’s Estate pursuant to
      Bankruptcy Code section 1123(b)(3). Proceeds recovered from all Causes of Action will
      be deposited into the Liquidating Trust and will be distributed by the Liquidating Trustee to
      the beneficiaries in accordance with the provisions of the Plan and this Liquidating Trust
      Agreement. All Causes of Action that are not expressly released or waived under this Plan
      are reserved and preserved and vest in the Liquidating Trust in accordance with this Plan.
      No Person may rely on the absence of a specific reference in the Plan, the Plan
      Supplement, or the Disclosure Statement to any Cause of Action against it as any indication
      that the Liquidating Trustee will not pursue any and all available Causes of Action against
      such Person. The Liquidating Trustee expressly reserves all Causes of Action, except for
      any Causes of Action against any Person that are expressly released or waived under the
      Plan, and, therefore, no preclusion doctrine, including the doctrines of res judicata,
      collateral estoppel, issue preclusion, claim preclusion, estoppel (judicial, equitable, or
      otherwise), or laches, shall apply to such Causes of Action upon, after, or as a consequence
      of confirmation or consummation of the Plan. No claims or Causes of Action against the
      Released Parties shall be transferred to the Liquidating Trust, the Liquidating Trustee shall
      not have standing to pursue such claims or Causes of Action, and all such claims and
      Causes of Action shall be waived, released and discharged pursuant to the Plan.

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              3.2     Settlement of Estate Causes of Action. The Liquidating Trustee, and in
      accordance with the provisions of and subject to the limitations set forth in the Plan, shall
      have standing, authority, power, and right to assert, prosecute, and/or settle the Causes of
      Action[, including making a claim under any D&O Insurance Policies, employment
      practices liability, or fiduciary liability insurance policies] based upon its powers as a
      bankruptcy-appointed representative of the Debtor’ Estate with the same or similar abilities
      possessed by insolvency trustees, receivers, examiners, conservators, liquidators,
      rehabilitators, or similar officials.

              3.3    Preservation of Right to Conduct Investigations. Any and all rights to
      conduct investigations pursuant to Bankruptcy Rule 2004 held by the Debtor prior to the
      Effective Date shall vest with the Liquidating Trust and shall continue until dissolution of
      the Liquidating Trust.

              3.4    Privilege. Solely with respect to carrying out the Liquidating Trust’s
      functions, the attorney-client privilege, work product doctrine or other privileges or
      immunities inuring to the benefit of the Debtor or the Creditors’ Committee, as applicable,
      or attaching to documents or communications of the Debtor or the Creditors’ Committee,
      as applicable, shall be transferred to the Liquidating Trust. The Liquidating Trustee is
      authorized to assert or waive any such privilege or doctrine, as necessary or appropriate for
      the administration of the Liquidating Trust. The Creditors’ Committee’s professionals
      shall share with the Liquidating Trustee’s professionals any documents and information.

                                         ARTICLE IV
                              LIABILITY OF LIQUIDATING TRUSTEE

               4.1    Standard of Care; Exculpation. Neither the Liquidating Trustee nor any
      affiliate, employee, employer, professional, agent, or representative of the Liquidating
      Trustee shall be liable for losses, claims, damages, liabilities, or expenses in connection
      with the affairs or property of the Liquidating Trust to any Beneficiary of the Liquidating
      Trust, or any other person, for the acts or omissions of the Liquidating Trustee; provided,
      however, that the foregoing limitation shall not apply as to any particular person or entity
      as to any losses, claims, damages, liabilities, or expenses suffered or incurred by any
      Beneficiary that are found by a final judgment by a court of competent jurisdiction (not
      subject to further appeal) to have resulted primarily and directly from the fraud, gross
      negligence, or willful misconduct of such person or entity. Every act done, power
      exercised, or obligation assumed by the Liquidating Trust, the Liquidating Trustee, or any
      affiliate, employee, employer, professional, agent, or representative of the Liquidating
      Trustee pursuant to the provisions of this Liquidating Trust Agreement or the Plan shall be
      held to be done, exercised, or assumed, as the case may be, by the Liquidating Trust, the
      Liquidating Trustee, or any affiliate, employee, employer, professional, agent, or
      representative of the Liquidating Trustee acting for and on behalf of the Liquidating Trust
      and not otherwise; provided however, that none of the foregoing entities or persons are
      deemed to be responsible for any other such entities’ or persons’ actions or inactions
      outside of the scope of the authority provided by the Liquidating Trust. Except as provided
      in the proviso of the first sentence of this Section 4.1 with respect to any Beneficiary, every
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      person, firm, corporation, or other entity contracting or otherwise dealing with or having
      any relationship with the Liquidating Trust, the Liquidating Trustee, or any affiliate,
      employee, employer, professional, agent, or representative of the Liquidating Trustee shall
      have recourse only to the Liquidating Trust Assets for payment of any liabilities or other
      obligations arising in connection with such contracts, dealings, or relationships and the
      Liquidating Trust, the Liquidating Trustee, any director, officer, affiliate, employee,
      employer, professional, agent, or representative of the Liquidating Trustee shall not be
      individually liable therefor.

                4.2      Indemnification.

               (a)     Except as otherwise set forth in the Plan or Plan Confirmation Order, the
Liquidating Trustee, and any affiliate, employee, employer, professional, agent, or representative
of the Liquidating Trustee (each, an “Indemnified Party” and collectively, the “Indemnified
Parties”), shall be defended, held harmless, and indemnified from time to time by the
Liquidating Trust against any and all losses, liabilities, expenses (including attorneys’ fees and
disbursements), damages, taxes, suits, or claims that the Liquidating Trustee or his professionals
may incur or sustain by reason of being or having been a Liquidating Trustee or professionals of
the Liquidating Trustee for performing any functions incidental to such service; provided,
however, such indemnity shall not apply to any such loss, liability, expense, damages, tax, suit,
or claim to the extent it is found in a final judgment by a court of competent jurisdiction (not
subject to further appeal) to have resulted primarily and directly from the bad faith, willful
misconduct, reckless disregard of duty, criminal conduct, gross negligence, fraud, or self-dealing
of such person or entity. Satisfaction of any obligation of the Liquidating Trust arising pursuant
to the terms of this Section shall be payable only from the Liquidating Trust Assets, may be
advanced prior to the conclusion of such matter, and such right to payment shall be prior and
superior to any other rights to receive a Distribution of the Liquidating Trust Assets.

               (b)     The Liquidating Trust shall promptly pay expenses reasonably incurred by
any Indemnified Party in defending, participating in, or settling any action, proceeding, or
investigation in which such Indemnified Party is a party or is threatened to be made a party or
otherwise is participating in connection with the Liquidating Trust Agreement or the duties, acts,
or omissions of the Liquidating Trustee, upon submission of invoices therefor, whether in
advance of the final disposition of such action, proceeding, or investigation or otherwise. Each
Indemnified Party hereby undertakes, and the Liquidating Trust hereby accepts its undertaking,
to repay any and all such amounts so advanced if it shall ultimately be determined that such
Indemnified Party is not entitled to be indemnified therefor under this Liquidating Trust
Agreement.

              4.3     No Liability for Acts of Successor/Predecessor Liquidating Trustees. Upon
      the appointment of a successor Liquidating Trustee and the delivery of the Liquidating
      Trust Assets to the successor Liquidating Trustee, the predecessor Liquidating Trustee and
      any director, officer, affiliate, employee, employer, professional, agent, or representative of
      the predecessor Liquidating Trustee shall have no further liability or responsibility with
      respect thereto. A successor Liquidating Trustee shall have no duty to examine or inquire
      into the acts or omissions of its immediate or remote predecessor and no successor
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      Liquidating Trustee shall be in any way liable for the acts or omissions of any predecessor
      Liquidating Trustee unless a successor Liquidating Trustee expressly assumes such
      responsibility. A predecessor Liquidating Trustee shall have no liability for the acts or
      omissions of any immediate or subsequent successor Liquidating Trustee for any events or
      occurrences subsequent to the cessation of its role as Liquidating Trustee.

              4.4    Reliance by Liquidating Trustee on Documents or Advice of Counsel.
      Except as otherwise provided in this Liquidating Trust Agreement, the Liquidating Trustee
      and any affiliate, employee, employer, professional, agent, or representative of the
      Liquidating Trustee may rely, and shall be protected from liability for acting, upon any
      resolution, certificate, statement, instrument, opinion, report, notice, request, consent,
      order, or other paper or document reasonably believed by the Liquidating Trustee to be
      genuine and to have been presented by an authorized party. The Liquidating Trustee shall
      not be liable for any action taken or suffered by the Liquidating Trustee in reasonable
      reliance upon the advice of counsel or other professionals engaged by the Liquidating
      Trustee in accordance with this Liquidating Trust Agreement.

               4.5     Insurance. All of the Debtor’ rights and its Estate’s rights under any
      insurance policy to which the Debtor and/or the Debtor’ Estate may be beneficiaries shall
      vest with the Liquidating Trust for the benefit of the Beneficiaries of the Liquidating Trust
      and all of the beneficiaries of such policies. The Liquidating Trust may purchase, using
      Liquidating Trust Assets, and carry all insurance policies and pay all insurance premiums
      and costs the Liquidating Trustee deems reasonably necessary or advisable, including,
      without limitation, purchasing any errors and omissions insurance with regard to any
      liabilities, losses, damages, claims, costs, and expenses it may incur, including but not
      limited to attorneys’ fees, arising out of or due to its actions or omissions, or consequences
      of such actions or omissions, other than as a result of its fraud or willful misconduct, with
      respect to the implementation and administration of the Plan or this Liquidating Trust
      Agreement.

                                     ARTICLE V
                           GENERAL PROVISIONS CONCERNING
                       ADMINISTRATION OF THE LIQUIDATING TRUST

              5.1     Register of Beneficiaries. The Liquidating Trust shall maintain at all times a
      register of the names, Distribution addresses, amounts of Allowed Claims and the ratable
      interests in the Liquidating Trust of the Beneficiaries (the “Register”). The Liquidating
      Trustee shall cause the Register to be kept at its office or at such other place or places as
      may be designated by the Liquidating Trustee from time to time.

              5.2    Books and Records. On the Effective Date, the Liquidating Trust shall: (a)
      take possession of all books, records, and files of the Debtor and the Estate; and (b) provide
      for the retention and storage of such books, records, and files until such time as the
      Liquidating Trust determines, in accordance with the Liquidating Trust Agreement, that
      retention of same is no longer necessary or beneficial. The Liquidating Trust shall
      maintain in respect of the Liquidating Trust and the Beneficiaries books and records

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      relating to the Liquidating Trust Assets and income realized therefrom and the payment of
      expenses of and claims against or assumed by the Liquidating Trust in such detail and for
      such period of time as may be necessary to enable it to make full and proper reports in
      respect thereof.

             5.3     Quarterly Reporting Obligations to Bankruptcy Court and Payment of
      Statutory Fees. In no event later than thirty (30) Business Days after the end of the first full
      month following the Effective Date and on a quarterly basis thereafter until all Cash in the
      Liquidating Trust has been released or paid out in accordance with the Plan and this
      Liquidating Trust Agreement, the Liquidating Trustee shall file with the Bankruptcy Court
      a report setting forth the amounts, recipients, and dates of all Distributions made by the
      Liquidating Trustee under the Plan and hereunder through each applicable reporting period.

              5.4     Filing of Monthly and Quarterly Reports and Payment of Statutory Fees.
      The filing of the final monthly operating report (for the month in which the Effective Date
      occurs) and all subsequent quarterly Liquidating Trust reports shall be the responsibility of
      the Liquidating Trustee. Statutory fees shall be paid as such fees may thereafter accrue and
      be due and payable in accordance with the applicable schedule for payment of such fees.
      Statutory Fees relating to any period of time after the Effective Date shall be paid by the
      Liquidating Trustee from funds in the Liquidating Trust. Such obligation to pay Statutory
      Fees shall continue until such time as the Chapter 11 Case is closed, dismissed, or
      converted.

              5.5      Filing of Tax Returns. The Liquidating Trust shall be responsible for filing
      all federal, state, local, and foreign tax returns for Liquidating Trust and the Debtor.

                                       ARTICLE VI
                         BENEFICIAL INTERESTS AND BENEFICIARIES

              6.1    Interest Beneficial Only. The ownership of a beneficial interest in the
      Liquidating Trust shall not entitle any Beneficiary to any title in or to the Liquidating Trust
      Assets or to any right to call for a partition or division of the Liquidating Trust Assets or to
      require an accounting.

              6.2   Evidence of Beneficial Interest. Ownership of a beneficial interest in the
      Liquidating Trust shall not be evidenced by any certificate, security, or receipt or in any
      other form or manner whatsoever, except as maintained on the books and records of the
      Liquidating Trust by the Liquidating Trustee.

              6.3     Transfers of Beneficial Interests. Beneficial interests in the Liquidating
      Trust shall be nontransferable except upon death of the interest holder or by operation of
      law. The Liquidating Trust shall not have any obligation to recognize any transfer of
      Claims or Interests occurring after the Effective Date. Only those holders of Claims and
      Interests of record stated on the transfer ledgers as of the close of business on the Effective
      Date, to the extent applicable, shall be entitled to be recognized for all purposes hereunder.


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              6.4    Absolute Owners. The Liquidating Trustee may deem and treat the
      Beneficiary reflected as the owner of a beneficial interest on the Register as the absolute
      owner thereof for the purposes of receiving Distributions and payments on account thereof
      for federal and state income tax purposes and for all other purposes whatsoever.

              6.5    Change of Address. A Beneficiary may, after the Effective Date, select an
      alternative Distribution address by notifying the Liquidating Trustee in writing of such
      alternative Distribution address. Absent such notice, the Liquidating Trustee shall not
      recognize any such change of Distribution address. Such notification shall be effective
      only upon receipt by the Liquidating Trustee.

               6.6    Effect of Death, Dissolution, Incapacity, or Bankruptcy of Beneficiary. The
      death, dissolution, incapacity, or bankruptcy of a Beneficiary during the term of the
      Liquidating Trust shall not operate to terminate the Liquidating Trust during the term of the
      Liquidating Trust nor shall it entitle the representative or creditors of the deceased,
      incapacitated, or bankrupt Beneficiary to an accounting or to take any action in any court or
      elsewhere for the Distribution of the Liquidating Trust Assets or for a partition thereof nor
      shall it otherwise affect the rights and obligations of the Beneficiary under this Liquidating
      Trust Agreement or in the Liquidating Trust.

              6.7    Standing.    Except as expressly provided in this Liquidating Trust
      Agreement, the Plan, or the Plan Confirmation Order, a Beneficiary does not have standing
      to direct the Liquidating Trustee to do or not to do any act or to institute any action or
      proceeding at law or in equity against any party (other than against the Liquidating Trustee
      to the extent provided in this Liquidating Trust Agreement) upon or with respect to the
      Liquidating Trust Assets.

                              ARTICLE VII
         PROCEDURES FOR RESOLVING AND TREATING DISPUTED CLAIMS

              7.1     Incorporation of Plan Provisions. As of the Effective Date, the Liquidating
      Trust shall assume responsibility for all Claims matters established by the Plan and shall be
      vested with any and all rights and defenses the Debtor had with respect to any Claim or
      Interest immediately prior to the Effective Date.

              7.2     Objections to Claims. The Liquidating Trustee shall be entitled to file
      objections to all Claims and Interests that are otherwise not deemed Allowed Claims or
      Equity Interests under the Plan and Plan Confirmation Order. Any objections to Claims
      shall be served and filed on or before one hundred twenty (120) days after the Effective
      Date or (ii) such later date as may be fixed by the Bankruptcy Court in accordance with the
      Plan. If an objection has not been filed to a Claim or the Schedules have not been amended
      with respect to a Claim that (a) was scheduled by the Debtor but (b) was not scheduled as
      contingent, unliquidated, and/or disputed, by the Claims Objection Bar Date, as the same
      may be extended by order of the Bankruptcy Court, the Claim to which the Proof of Claim
      or scheduled Claim relates will be treated as an Allowed Claim if such Claim has not been
      Allowed earlier by a Final Order of the Bankruptcy Court.

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              7.3    Estimation of Claims. At any time, the Liquidating Trustee may request that
      the Bankruptcy Court estimate any contingent or unliquidated Claim to the extent permitted
      by section 502(c) of the Bankruptcy Code regardless of whether the Liquidating Trustee or
      the Debtor have previously objected to such Claim or whether the Bankruptcy Court has
      ruled on any such objection, and the Bankruptcy Court shall have jurisdiction to estimate
      any Claim at any time during litigation concerning any objection to such Claim, including
      during the pendency of any appeal relating to any such objection. If the Bankruptcy Court
      estimates any contingent or unliquidated Claim, that estimated amount shall constitute
      either the Allowed amount of such Claim or a maximum limitation on the Claim, as
      determined by the Bankruptcy Court. If the estimated amount constitutes a maximum
      limitation on the Claim, the Liquidating Trustee may elect to pursue supplemental
      proceedings to object to the ultimate allowance of the Claim. All of the aforementioned
      Claims objection, estimation and resolution procedures are cumulative and not exclusive of
      one another. Claims may be estimated and subsequently compromised, settled, withdrawn
      or resolved by any mechanism approved by the Bankruptcy Court.

                                              ARTICLE VIII
                                             DISTRIBUTIONS

              8.1     Distributions to Beneficiaries from Liquidating Trust Assets. All payments
      to be made by the Liquidating Trust to any Beneficiary or any other party shall be made
      only in accordance with the Plan, the Plan Confirmation Order, and this Liquidating Trust
      Agreement and from the Liquidating Trust Assets (or from the income and proceeds
      realized from the Liquidating Trust Assets), and only to the extent that the Liquidating
      Trust has sufficient Liquidating Trust Assets (or income and proceeds realized from the
      Liquidating Trust Assets) to make such payments in accordance with and to the extent
      provided for in the Plan, the Plan Confirmation Order, and this Liquidating Trust
      Agreement. The Liquidating Trustee shall also have the power to make Distributions to
      holders of Claims other than General Unsecured Claims from the Debtor’s assets in
      accordance with Articles II and III of the Plan. Any Distributions to be made by or on
      behalf of the Debtor or the Liquidating Trustee, as applicable, pursuant to the Plan shall be
      made by checks drawn on accounts maintained by the Liquidating Trustee or an electronic
      wire transfer, at the option of the Liquidating Trustee.

              8.2    Date of Distributions. Any Distributions and deliveries to be made under
      the Plan with respect to Claims that are Allowed as of the Effective Date shall be made on
      the Effective Date or as soon thereafter as is reasonably practicable. Except as otherwise
      provided in the Plan or Plan Confirmation Order, any Distributions and deliveries to be
      made under the Plan with respect to Claims that are Allowed after the Effective Date shall
      be made as soon as is reasonably practicable after the date on which such Claim becomes
      Allowed. For Disputed Claims that have not been Allowed as of the Effective Date, any
      Distributions made after the Effective Date to holders of such Disputed Claims (which later
      become Allowed Claims after the Effective Date) shall be deemed to have been made on
      the Effective Date and, except as otherwise provided in the Plan, interest shall not accrue
      on any Claims, and no holder of a Claim shall be entitled to interest accruing on or after the
      Petition Date. In the event that any payment or act under the Plan is required to be made or
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      performed on a date that is not a Business Day, then the making of such payment or the
      performance of such act may be completed on or as soon as reasonably practicable after the
      next succeeding Business Day, but shall be deemed to have been completed as of the
      required date.

              8.3     No Distribution Pending Allowance. Notwithstanding any other provision
      of the Plan or this Liquidating Trust Agreement, no Distribution of Cash or other property
      shall be made with respect to any portion of a Disputed Claim unless and until all
      objections to such Claim are resolved by Final Order or as otherwise permitted by the Plan
      or this Liquidating Trust Agreement.

              8.4    Reserve of Cash Distributions. On any date that Distributions are to be
      made under the terms of the Plan, the Liquidating Trustee shall reserve Cash or property
      equal to 100% of the Cash or property that would be distributed on such date on account of
      Disputed Claims as if each such Disputed Claim were an Allowed Claim but for the
      pendency of a dispute with respect thereto. Such Cash or property shall be held in trust for
      the benefit of the holders of all such Disputed Claims pending determination of their
      entitlement thereto.

              8.5    Distributions after Allowance. Within the later of (i) seven (7) Business
      Days after such Claim becomes an Allowed Claim and (ii) thirty (30) days after the
      expiration of the Claims Objection Bar Date, the Liquidating Trustee shall distribute all
      Cash or other property, including any interest, dividends, or proceeds thereof, to which a
      holder of an Allowed Claim is then entitled.

              8.6     Delivery of Distributions; Unclaimed Distributions. Except as provided in
      the Plan, Distributions to holders of Allowed Claims shall be made (a) the address of each
      holder as set forth in the Schedules, unless superseded by the address set forth on proofs of
      Claim filed by such holder or (b) the last known address of such holder if no proof of
      Claim is filed or if the Liquidating Trustee has not been notified in writing of a change of
      address. In the event that any Distribution to any holder of an Allowed Claim made by the
      Liquidating Trustee is returned as undeliverable, the Liquidating Trustee shall use
      commercially reasonable efforts to determine the current address of each holder, but no
      Distribution to such holder shall be made unless and until the Disbursing Agent has
      determined the then current address of such holder; provided, however, that all
      Distributions to holders of Allowed Claims made by the Liquidating Trustee that are
      unclaimed for a period of ninety (90) days after the date of the first attempted Distribution
      shall have its, his or her Claim for such undeliverable Distribution deemed satisfied and
      will be forever barred from asserting any such Claim against the Debtor or its property.
      Any Distributions which are undeliverable or have not been negotiated within the time
      period set forth above shall be deemed unclaimed property under section 347(b) of the
      Bankruptcy Code and revested in the Debtor’s Estate. The Liquidating Trustee shall have
      no further obligation to make any Distribution to the holder of such Claim on account of
      such Claim, and any entitlement of any holder of such Claim to any such Distributions
      shall be extinguished and forever barred; provided, however, that the holder of such Claim


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      may receive future Distributions on account of such Claim by contacting the Liquidating
      Trustee at some point prior to the final Distribution.

                 Until such time as an undeliverable Distribution becomes an unclaimed
         Distribution, within thirty (30) days after the end of each calendar quarter following the
         Effective Date, or upon such other interval as the Bankruptcy Court may order, but in no
         event less frequently than annually, the Liquidating Trustee shall make Distributions of
         all Cash and property that has become deliverable during the preceding quarter. Each
         such Distribution shall include the net return yielded from the investment of any
         undeliverable Cash, from the date such Distribution would have been due had it then
         been deliverable to the date that such Distribution becomes deliverable.

             8.7    Withholding Taxes. Any federal, state, or local withholding taxes or other
      amounts required to be withheld under applicable law shall be deducted from Distributions
      hereunder. All Beneficiaries, as a condition to receiving any Distribution, shall provide the
      Liquidating Trustee with a completed and executed Form W-9.

             8.8     No Distribution in Excess of Allowed Amount of Claim. Notwithstanding
      anything to the contrary in the Plan or herein, no Beneficiary shall receive in respect of
      such Claims held by the Beneficiary any Distribution in excess of the Allowed amount of
      such Claim. Upon a Beneficiary recovering the full amount of its Allowed Claim from
      another source, it thereafter shall no longer have any entitlement to receive Distributions
      under the Plan.

                                               ARTICLE IX
                                                 TAXES

              9.1     Income Tax Status. Consistent with Revenue Procedure 94-45, 1994-2 C.
      B. 684, the Liquidating Trust shall be treated as a liquidating trust pursuant to Treasury
      Regulation Section 301.7701-4(d) and as a grantor trust pursuant to IRC Sections 671-677.
      Accordingly, for federal income tax purposes, it is intended that the Beneficiaries be treated
      as if they had received a distribution from the Estate of an undivided interest in each of the
      Liquidating Trust Assets (to the extent of the value of their respective share in the
      applicable assets) and then contributed such interests to the Liquidating Trust, and the
      Beneficiaries will be treated as the grantors and owners thereof.

              9.2     Tax Returns. The Liquidating Trustee shall file tax returns for the
      Liquidating Trust as a grantor trust pursuant to Treasury Regulation section 1.671-4(a) and
      in accordance with the Plan. The Liquidating Trust also shall annually (for tax years in
      which Distributions from the Liquidating Trust are made) send to each holder of a
      beneficial interest a separate statement setting forth the holder’s share of items of income,
      gain, loss, deduction, or credit and all such holders shall report such items on their federal
      income tax returns; provided, however, that no such statement need be sent to any Class
      that is not expected to receive any Distribution from the Liquidating Trust. The
      Liquidating Trust’s taxable income, gain, loss, deduction, or credit will be allocated to the
      Beneficiaries in accordance with their relative beneficial interests in the Liquidating Trust.

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              9.3     Withholding of Taxes and Reporting Related to Liquidating Trust
      Operations. The Liquidating Trust shall be responsible for filing all federal, state, and local
      tax returns for the Liquidating Trust. The Liquidating Trust shall comply with all
      withholding and reporting requirements imposed by any federal, state, or local taxing
      authority, and all distributions made by the Liquidating Trust shall be subject to any such
      withholding and reporting requirements. The Liquidating Trustee shall be authorized to
      take any and all actions that may be necessary or appropriate to comply with such
      withholding and reporting requirements including, without limitation, requiring that, as a
      condition to the receipt of a Distribution, the holder of an Allowed Claim complete the
      appropriate IRS Form W-8 or IRS Form W-9, as applicable to each holder.
      Notwithstanding any other provision of the Plan, (a) each holder of an Allowed Claim that
      is to receive a Distribution from the Liquidating Trust shall have the sole and exclusive
      responsibility for the satisfaction and payment of any tax obligations imposed on such
      holder by any Governmental Unit, including income and other tax obligations, on account
      of such Distribution, and (b) no Distribution shall be made to or on behalf of such holder
      pursuant to the Plan unless and until such holder has made arrangements satisfactory to the
      Liquidating Trustee to allow it to comply with its tax withholding and reporting
      requirements. Any property to be distributed by the Liquidating Trust shall, pending the
      implementation of such arrangements, be treated as an undeliverable Distribution to be held
      by the Liquidating Trustee, as the case may be, until such time as the Liquidating Trustee is
      satisfied with the holder’s arrangements for any withholding tax obligations.

              9.4     Valuations. As soon as practicable after the Effective Date, the Liquidating
      Trust shall make a good faith valuation of the Liquidating Trust Assets, and such valuation
      shall be used consistently by all parties for all federal income tax purposes. The
      Liquidating Trust also shall file (or cause to be filed) any other statements, returns, or
      disclosures relating to the Liquidating Trust that are required by any Governmental Unit for
      taxing purposes. The Liquidating Trust may request an expedited determination of taxes of
      the Liquidating Trust under section 505(b) of the Bankruptcy Code for all tax returns filed
      for, or on behalf of, the Debtor and the Liquidating Trust for all taxable periods through the
      dissolution of the Liquidating Trust.

              9.5    Payment of Taxes. The Liquidating Trust shall be responsible for payments
      of any taxes imposed on the Liquidating Trust or the Liquidating Trust Assets.

                                        ARTICLE X
                             TERMINATION OF LIQUIDATING TRUST

               10.1 Termination of Liquidating Trust. The Liquidating Trustee shall be
      discharged and the Liquidating Trust shall be terminated, at such time as (i) all Disputed
      Claims have been resolved, (ii) all of the Liquidating Trust Assets have been liquidated,
      (iii) all duties and obligations of the Liquidating Trustee under the Liquidating Trust
      Agreement have been fulfilled, (iv) all Distributions required to be made by the Liquidating
      Trust under this Plan and the Liquidating Trust Agreement have been made, and (v) the
      Debtor’s Chapter 11 Case has been closed; provided, however, that in no event shall the
      Liquidating Trust be dissolved later than three (3) years from the Effective Date unless the
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      Bankruptcy Court, upon motion within the six month period prior to the third anniversary
      (or the end of any extension period approved by the Bankruptcy Court), determines that a
      fixed period extension not to exceed one (1) year is necessary to facilitate or complete the
      recovery and liquidation of the Liquidating Trust Assets.

              10.2 Events Upon End of Term Termination. At the conclusion of the term of the
      Liquidating Trust, the Liquidating Trust shall distribute the remaining Liquidating Trust
      Assets, if any, to the Beneficiaries, in accordance with the Plan, the Plan Confirmation
      Order, and this Liquidating Trust Agreement; provided, however, that the Liquidating Trust
      shall not be obligated to make Distributions to a Class of Claims or Interests if the amount
      of the available cash is de minimis and is not sufficient to warrant the incurrence of costs in
      making the Distribution.

             10.3 Winding Up and Discharge of the Liquidating Trustee. For the purposes of
      winding up the affairs of the Liquidating Trust at the conclusion of its term, the Liquidating
      Trustee shall continue to act as Liquidating Trustee until its duties under this Liquidating
      Trust Agreement have been fully discharged or its role as Liquidating Trustee is otherwise
      terminated under this Liquidating Trust Agreement and the Plan. Upon a motion by the
      Liquidating Trustee, the Bankruptcy Court may enter an order relieving the Liquidating
      Trustee, its agents, and employees of any further duties and discharging the Liquidating
      Trustee.

                                           ARTICLE XI
                                    MISCELLANEOUS PROVISIONS

               11.1 Amendments. The Liquidating Trustee may modify, supplement, or amend
      this Liquidating Trust Agreement without Bankruptcy Court approval (a) to clarify any
      ambiguity or inconsistency, or render this Liquidating Trust Agreement in compliance with
      its stated tax purposes, or (b) in any other way that is not inconsistent with the Plan or the
      Plan Confirmation Order, only if such modification, supplement, or amendment does not
      materially and adversely affect the interests, rights, treatment, or Distributions of or to any
      Beneficiaries. All other modifications, supplements, and amendments shall require prior
      approval of the Bankruptcy Court.

             11.2 Waiver. No failure by the Liquidating Trust or the Liquidating Trustee to
      exercise or delay in exercising any right, power, or privilege hereunder shall operate as a
      waiver, nor shall any single or partial exercise of any right, power, or privilege hereunder
      preclude any further exercise thereof, or of any other right, power, or privilege.

              11.3 Cumulative Rights and Remedies. The rights and remedies provided in this
      Liquidating Trust Agreement are cumulative and are not exclusive of any rights under law
      or in equity.

             11.4 No Bond Required. Notwithstanding any state law to the contrary, the
      Liquidating Trustee (including any successor Liquidating Trustee) shall be exempt from
      giving any bond, surety, or other security in any jurisdiction.

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             11.5 Irrevocability. This Liquidating Trust Agreement and the Liquidating Trust
      created hereunder shall be irrevocable, except as otherwise expressly provided in this
      Liquidating Trust Agreement.

             11.6 Relationship to the Plan. The principal purpose of this Liquidating Trust
      Agreement is to aid in the implementation of the Plan and, therefore, this Liquidating Trust
      Agreement incorporates and is subject to the provisions of the Plan and the Plan
      Confirmation Order. In the event that any provision of this Liquidating Trust Agreement is
      found to be inconsistent with a provision of the Plan or the Plan Confirmation Order, the
      provisions of the Plan or the Plan Confirmation Order, as applicable, shall control.

             11.7 Division of Liquidating Trust. Under no circumstances shall the Liquidating
      Trustee have the right or power to divide the Liquidating Trust unless authorized to do so
      by the Bankruptcy Court.

               11.8 Applicable Law. The Liquidating Trust and this Liquidating Trust
      Agreement, and the rights and obligations of the Liquidating Trustee, are to be governed by
      and construed and administered according to the laws of the State of Delaware; provided,
      however, that, except as expressly provided in this Liquidating Trust Agreement, there
      shall not be applicable to the Liquidating Trust, the Liquidating Trustee, or this Liquidating
      Trust Agreement any provisions of the laws (statutory or common) of the State of
      Delaware pertaining to trusts that relate to or regulate (a) the filing with any court or
      governmental body or agency of trustee accounts or schedules of trustee fees and charges,
      (b) affirmative requirements to post bonds for trustees, officers, agents, or employees of a
      trust, (c) the necessity for obtaining court or other governmental approval concerning the
      acquisition, holding, or disposition of real or personal property, (d) fees or other sums
      payable to trustees, officers, agents, or employees of a trust, (e) the allocation of receipts
      and expenditures to income or principal, (f) restrictions or limitations on the permissible
      nature, amount or concentration of trust investments or requirements relating to the titling,
      storage or other manner of holding of trust assets, or (g) the establishment of fiduciary or
      other standards or responsibilities or limitations on the acts or powers of trustees that are
      inconsistent with the limitations or liabilities or authorities and powers of the Liquidating
      Trustee set forth or referenced in this Liquidating Trust Agreement.

              11.9 Retention of Jurisdiction. Notwithstanding the Effective Date, and to the
      fullest extent permitted by law, the Bankruptcy Court shall retain exclusive jurisdiction
      over the Liquidating Trust after the Effective Date, including, without limitation,
      jurisdiction to resolve any and all controversies, suits, and issues that may arise in
      connection therewith, including, without limitation, this Liquidating Trust Agreement, or
      any entity’s obligations incurred in connection herewith, including without limitation, any
      action against the Liquidating Trustee or any professional retained by the Liquidating
      Trustee, in its capacity as such. Each party to this Liquidating Trust Agreement and each
      Beneficiary of the Liquidating Trust hereby irrevocably consents to the exclusive
      jurisdiction of the Bankruptcy Court in any action to enforce, interpret, or construe any
      provision of this Liquidating Trust Agreement or of any other agreement or document
      delivered in connection with this Liquidating Trust Agreement, and also hereby irrevocably
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      waives any defense of improper venue, forum non conveniens, or lack of personal
      jurisdiction to any such action brought in the Bankruptcy Court. Each party further
      irrevocably agrees that any action to enforce, interpret, or construe any provision of this
      Liquidating Trust Agreement will be brought only in the Bankruptcy Court. Each party
      hereby irrevocably consents to the service by certified or registered mail, return receipt
      requested, of any process in any action to enforce, interpret, or construe any provision of
      this Liquidating Trust Agreement. Notwithstanding the preceding, nothing herein shall be
      interpreted as requiring the commencement or prosecution of any Causes of Action in the
      Bankruptcy Court, and all determinations regarding the proper forum for initiating any
      Cause of Action shall be at the discretion of the Liquidating Trust, consistent with
      applicable law.

              11.10 Severability. In the event that any provision of this Liquidating Trust
      Agreement or the application thereof to any person or circumstance shall be determined by
      the Bankruptcy Court to be invalid or unenforceable to any extent, the remainder of this
      Liquidating Trust Agreement, or the application of such provision to persons or
      circumstance, other than those as to which it is held invalid or unenforceable, shall not be
      affected thereby, and such provision of this Liquidating Trust Agreement shall be valid and
      enforced to the fullest extent permitted by law.

             11.11 Limitation of Benefits. Except as otherwise specifically provided in this
      Liquidating Trust Agreement, the Plan, or the Plan Confirmation Order, nothing herein is
      intended or shall be construed to confer upon or to give any person other than the parties
      hereto and the Beneficiaries any rights or remedies under or by reason of this Liquidating
      Trust Agreement.

              11.12 Notices. All notices, requests, demands, consents, and other communication
      hereunder shall be in writing and shall be deemed to have been duly given to a person, if
      delivered in person or by facsimile or if sent by overnight mail, registered mail, certified
      mail or regular mail, with postage prepaid, to the following addresses:

         If to the Liquidating Trustee:

                           Mark D. Kozel
                           BDO
                           32125 Solon Road
                           Cleveland, OH 44139

                           with a copy to

                           Liquidating Trustee’s Counsel

                           [INSERT INFO]




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         If to a Beneficiary:

                  To the name and Distribution address set forth in
                  the Register with respect to such Beneficiary.

             The parties may designate in writing from time to time other and additional places
      to which notices may be sent.

             11.13 Further Assurances. From and after the Effective Date, the parties hereto
      covenant and agree to execute and deliver all such documents and notices and to take all
      such further actions as may reasonably be required from time to time to carry out the intent
      and purposes of this Liquidating Trust Agreement, and to consummate the transactions
      contemplated hereby.

              11.14 Integration. This Liquidating Trust Agreement, the Plan, and the Plan
      Confirmation Order constitute the entire agreement with, by, and among the parties hereto
      and thereto, and there are no representations, warranties, covenants, or obligations except
      as set forth herein, in the Plan, and in the Plan Confirmation Order. This Liquidating Trust
      Agreement, together with the Plan and the Plan Confirmation Order, supersede all prior and
      contemporaneous agreements, understandings, negotiations, and discussions, written or
      oral, of the parties hereto, relating to any transaction contemplated hereunder. Except as
      otherwise provided in this Liquidating Trust Agreement, the Plan, or Plan Confirmation
      Order, nothing herein is intended or shall be construed to confer upon or give any person
      other than the parties hereto and the Beneficiaries any rights or remedies under or by reason
      of this Liquidating Trust Agreement.

             11.15 Interpretation. The enumeration and Section headings contained in this
      Liquidating Trust Agreement are solely for convenience of reference and shall not affect
      the meaning or interpretation of this Liquidating Trust Agreement or of any term or
      provision hereof. Unless context otherwise requires, whenever used in this Liquidating
      Trust Agreement the singular shall include the plural and the plural shall include the
      singular, and words importing the masculine gender shall include the feminine and the
      neuter, if appropriate, and vice versa, and words importing persons shall include
      partnerships, associations, and corporations. The words herein, hereby, and hereunder and
      words with similar import, refer to this Liquidating Trust Agreement as a whole and not to
      any particular Section or subsection hereof unless the context requires otherwise. Any
      reference to the “Liquidating Trustee” shall be deemed to include a reference to the
      “Liquidating Trust” and any reference to the “Liquidating Trust” shall be deemed to
      include a reference to the “Liquidating Trustee” except for the references in which the
      context otherwise requires.

              11.16 Counterparts. This Liquidating Trust Agreement may be signed by the
      parties hereto in counterparts, which, when taken together, shall constitute one and the
      same document.

                                           [Signature Pages Follow]

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        IN WITNESS WHEREOF, the parties hereto have either executed and acknowledged this
Liquidating Trust Agreement, or caused it to be executed and acknowledged on their behalf by
their duly authorized representatives, all as of the date first above written.



                                                   ABENGOA BIOENERGY BIOMASS OF
                                                   KANSAS, LLC


                                                   By:
                                                               Name: Gerson Santos-Leon
                                                               Title: Executive Vice President


                                                   OFFICIAL COMMITTEE OF UNSECURED
                                                   CREDITORS

                                                   By:
                                                               Name: Greg Stoppel
                                                               Title: Chairman


                                                   MARK D. KOZEL, AS LIQUIDATING
                                                   TRUSTEE


                                                   By:
                                                               Name: Mark D. Kozel
                                                               Title: Managing Director of BDO USA,
                                                                       LLC




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